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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

COOPER LIGHTING, LLC,                         )
                                              )
             Plaintiff,                       )
                                              )
       v.                                     )
                                                Civil Action No. 1:16-cv-02669-MHC
                                              )
CORDELIA LIGHTING, INC.,                      )
                                              )
          Defendant.                          )
__________________________________            )

CORDELIA LIGHTING, INC. AND                   )
JIMWAY, INC.,                                 )
                                              )
             Counterclaim Plaintiffs,         )
                                              )
       v.                                     )
                                              )
COOPER LIGHTING, LLC,                         )
                                              )
             Counterclaim Defendant.          )


                PLAINTIFF COOPER LIGHTING, LLC’S
               MOTION TO LIFT STAY OF PROCEEDINGS

      Plaintiff Cooper Lighting, LLC (“Cooper”) hereby moves the Court to lift its

stay order of November 13, 2017 (Dkt. #85) and reopen the proceedings against

Defendant Cordelia Lighting, Inc. (“Cordelia”). A memorandum in support of this

Motion follows. A proposed order lifting the stay is attached hereto as Exhibit A.
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I.    INTRODUCTION

      As Cordelia acknowledged, it “filed IPR petitions including 13 grounds that

challenge[d] every Cooper patent claim asserted in this action” – 48 claims from the

four asserted patents. (Dkt. #77 at 13.) The PTAB denied institution on two asserted

patents entirely. Thus, the IPR challenges on those two patents are over, and

litigation concerning those two patents is inevitable. For the other two asserted

patents, the PTAB initially granted institution on eighteen claims and denied

institution on seven additional claims.1 Across all four asserted patents, the PTAB

initially denied institution on 30 of the 48 claims (including claims from each

asserted patent), and granted institution on only three of Cordelia’s thirteen asserted

grounds. While Cooper was willing to pause this proceeding through the PTAB’s

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          After the PTAB’s institution decisions, the Supreme Court issued a decision
in SAS Institute Inc. v. Iancu, No. 16-969, 2018 WL 1914661 (S. Ct. Apr. 24, 2018),
which held that the IPR statutory scheme does not permit the PTAB to institute an
IPR on less than all claims challenged in the petition. In other words, the PTAB can
no longer partially institute an IPR for only some of the challenged claims, as it did
for two patents here. The PTAB must institute on all or none of the claims. In
response, the PTAB is in the process of entering orders in pending IPRs to address
SAS. In IPR2017-01859 on the Davis ‘956 patent (see Ex. G), the PTAB modified
its institution decision to institute on all claims and all challenges. As of this filing,
the parties have not received an order from the PTAB in IPR2017-01857 on the
Tickner ‘477 patent. Regardless of SAS, there is no reason to believe that the PTAB
will change its initial decision that Cordelia could not show that seven of the
challenged claims from the Tickner ‘477 and Davis ‘956 patents are invalid. SAS
had no impact on the two asserted patents where the PTAB denied institution
entirely.


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institution decisions (and further while the parties discussed settlement), there is no

reason to continue this stay now. Continuing the stay will only accomplish further

delay of unavoidable litigation. And whereas here the parties are head-to-head

competitors, and the plaintiff is seeking an injunction, unnecessary delay is highly

prejudicial to the patent owner.

      The particular facts of this case, as well as many court decisions – including

decisions from this Court – support lifting the stay. For example, maintaining the

stay through the outcome of the two remaining IPRs will not simplify the case. Even

if the PTAB were to rule against Cooper on all instituted claims, and its decision was

affirmed on appeal, this litigation would still be certain to proceed because there are

no IPR proceedings on two of the four asserted patents. And that unavoidable

litigation must proceed with the exact same scope, regardless of the outcome of the

IPRs. Indeed, for the approximately half of the asserted claims that survived the IPR

challenges and are certain to be litigated, the accused products, principal claim

construction disputes, infringement claims, damages theories, and overall relief

sought by Cooper are exactly the same as for instituted claims. Thus, the litigation

will proceed in the same fashion regardless of the outcome of the IPRs, and there

will be no risk of unnecessary work or duplication of efforts by lifting the stay.




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      Further, lifting the stay would not risk inconsistent rulings. For all of the

asserted claims of two asserted patents (the Tickner ’479 and ’978 patents), the IPR

process is over and there is no right to appeal. As a result, there can be no risk of

inconsistent rulings for those claims. Further, Cordelia is estopped from making

validity arguments in the litigation that were raised in the instituted IPRs, so there

can be no risk of inconsistent rulings on that issue either. The IPRs will not address

the issues of infringement or damages, so the risk of inconsistent rulings on those

issues is also not a concern. Perhaps most importantly, both the IPR proceedings are

scheduled to conclude no later than mid-February 2019, long before this case will

go to trial. This fact alone effectively substantially reduces any risk of inconsistent

rulings.

      The stage of this litigation and IPRs further supports lifting the stay. This

litigation has been pending for nearly two years; it is not in its infancy. Substantial

written and document discovery has been completed, depositions have been taken,

contentions have been exchanged, claim construction briefing has closed, and an

abundance of motion practice has been completed. This relatively advanced stage

supports lifting the stay. The stage of the IPRs also supports lifting the stay. The

IPR hearings are scheduled to take place in September and October 2018, and final

written decisions will issue in January and February 2019 – well before this case will


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go to trial. Thus, this Court and the parties will have the benefit of those decisions

well in advance of any trial, which will not only reduce any potential for inconsistent

rulings, but will allow Cooper the opportunity to drop any claims found

unpatentable.

      Finally, the Supreme Court’s recent decision in SAS Institute Inc. v. Iancu

does not support maintaining the stay. As mentioned in the footnote above, the Court

in SAS held that when the PTAB institutes an IPR proceeding with respect to at least

one challenged claim, that it must address the patentability of all claims the petitioner

challenged in the proceeding. Id. at *9-10. But even if claims in the two pending

IPRs that the PTAB initially declined to further consider are now back before the

PTAB, it is highly unlikely that the PTAB will reverse course from its original

decision that Cordelia did not show a reasonable likelihood it would prevail with

respect to those claims and grounds. In any event, any modifications to the two

pending IPRs do not impact the two patents for which no IPR was instituted. Thus,

SAS does not change the fact that this case will have to proceed in all aspects (and

with the same scope) on the 23 asserted claims in the Tickner ’479 and ’978 patents

for which the PTAB denied Cordelia’s IPR petitions.




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      In short, the only result of maintaining the stay will be further delay of

inevitable litigation and associated work that the parties must complete regardless of

the outcome of the IPRs. The case should proceed without that further delay.

II.   BACKGROUND
      Cooper filed its Complaint in the instant case on July 22, 2016. (Dkt. #1.)

The Complaint asserted that Defendants infringed four patents: U.S. Patent Nos.

8,348,477 (the “’477 patent”); 8,348,479 (the “’479 patent”); 8,789,978 (the “’978

patent”); and 9,010,956 (the “’956 patent”, collectively “the asserted patents”). (See

id. ¶¶ 17-50.) All of the patents relate to LED downlights. In its initial infringement

contentions, Cooper asserted 48 claims in the asserted patents against Cordelia.

      Cordelia filed IPR petitions on each of the 48 asserted claims in the asserted

patents on July 26, 2017, one day before the deadline by which Cordelia would have

been statutorily barred from filing any petitions, raising multiple grounds for

invalidity of the claims in each petition. (See Dkt. #68, Exs. B-E; 35 U.S.C.

§ 315(b).) Cordelia moved to stay this proceeding until resolution of the IPR

proceedings on August 21, 2017. (Id.) Cooper did not oppose a stay of the litigation

through the institution phase of the IPRs, but opposed an unconditional stay through

the conclusion of all IPR proceedings. (See Dkt. #76 at 11.)




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      On November 13, 2017, the Court granted Cordelia’s Motion to Stay “until

further order of the Court.” (Dkt. #85 at 24.) In February 2018, the PTAB denied

institution on all asserted claims in IPR2017-01858 (on the ’479 patent) and

IPR2017-01860 (on the ’978 patent) and, therefore, there will be no further IPR

proceedings with respect to those two patents. In January and February 2018, the

PTAB granted partial institution on certain of the asserted claims in IPR2017-01857

(on the ’477 patent) and IPR2017-01859 (on the ’956 patent), but denied institution

on a number of other claims.2 The PTAB decisions on institution are attached hereto

as Exhibits B-E.

      In summary, of the 48 asserted claims, the PTAB only instituted review of 18

claims (14 from the ’477 patent and 4 from the ’956 patent). Two patents – the ’479

and the ’978 patents – will not be reviewed at all. Moreover, the PTAB also declined

to review three claims of the ’477 patent (Ex. B at 13, 21, 29) and four claims of the

’956 patent (Ex. D at 22, 26). After the Supreme Court’s decision in SAS, the PTAB

modified its institution decision to institute IPR on all claims and on all grounds for

the asserted claims of the ’956 patent. (Ex. G.) The PTAB has not yet issued an

order addressing SAS in the IPR on the ’477 patent.


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       Cordelia did not seek rehearing of any of the PTAB’s institution decisions,
which largely rejected Cordelia’s reasoning.


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        On March 1, 2018, the parties informed the Court of the status of the PTAB

IPR decisions. (Dkt. #107.) At that time, the SAS decision had yet to issue. The

parties sought to maintain the stay through private mediation. (Id. at 1.) Cooper

stated that, if the mediation was unsuccessful, it intended to move to lift the stay.

(Id.)

        The parties engaged in private mediation in Chicago, Illinois on March 19,

2018.      Additional negotiations through the mediator occurred thereafter.

Unfortunately, the parties were unable to resolve their disputes. Therefore, Cooper

moves this Court to lift the stay on these proceedings.

III.    LEGAL STANDARD

        The party seeking to maintain a stay bears the burden of showing that such a

stay is appropriate. See Automatic Mfg. Sys., Inc. v. Primera Tech., Inc., No. 6:12-

CV-1727, 2013 U.S. Dist. LEXIS 67790, at *3 (M.D. Fla. May 13, 2013). “Courts

have inherent power to manage their dockets and stay proceedings, including the

authority to order a stay pending conclusion of a PTO reexamination.” See MiMedx

Group, Inc. v. Liventa Bioscience, Inc., No. 1:14-CV-1178-MHC (N.D. Ga. Apr. 6,

2015), ECF No. 122 at 6 (quoting Ethicon, Inc. v. Quigg, 849 F.2d 1422, 1426-27

(Fed. Cir. 1988)), attached hereto as Ex. F. “The Court should not ignore the

potential difficulties” of a stay through all appeals including “the possible length of”


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the review, and the fact that the IPR process “only considers the validity of the patent

with regard to prior art.” Id. at 6-7 (citing Tomco2 Equip. Co. v. Se. Agri-Sys, Inc.,

542 F. Supp. 2d 1303, 1307 (N.D. Ga. 2008) (internal citations omitted).

      Courts consider three factors in determining the appropriateness of a stay,

including a stay through all appeals: (1) whether a stay will simplify the issues in the

case; (2) whether a stay would unduly prejudice or present a tactical disadvantage to

the nonmovant; and (3) whether discovery is complete and a trial date has been set;

Id. at 7 (citing Interface, Inc. v. Tandus Flooring, Inc., No. 4:13-CV-46-WSD, 2013

U.S. Dist. LEXIS 158608, at *13 (N.D. Ga. Nov. 5, 2013).)

IV.   ARGUMENT

      A.     Each Of The Relevant Stay Factors Supports Lifting The Stay.

             1.     Maintaining The Stay Will Not Simplify The Issues In This
                    Case.

      The PTAB’s decisions make clear that maintaining a stay of this proceeding

until final appeal (or even the issuance of the final written decisions in the two

pending IPRs) will not streamline or simplify the case. The ’479 and ’978 patents –

including all of the twenty-three asserted claims in those patents – survived

Cordelia’s challenges. Thus, even if Cordelia can convince the PTAB to invalidate

each of the claims that were instituted in the other two patents (which is unlikely,

particularly for the claims where the PTAB initially denied institution), nearly half


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of the 48 asserted claims will remain to be tried in this civil action. The litigation,

therefore, will proceed no matter what; and given the substantial number of claims

that survived institution, the litigation will proceed with the exact same scope

regardless of the outcome of the IPRs.

      Courts routinely deny stays of litigation under circumstances like these where

the PTAB institutes IPR proceedings on only a subset of asserted patents. Indeed,

             [A] stay will not simplify the issues in question and trial
             of the case, primarily because the … [same] technology is
             at issue in both the IPR patents and other patents-in-suit
             not subject to the IPR. In other words, discovery on those
             products will proceed regardless of whether the stay is
             granted or not; the burden of litigation will not be reduced
             even if a stay were put in place.

Intellectual Ventures I LLC v. Toshiba Corp., No. 13-453-SLR/SRF, 2015 WL

3773779, at *3 (D. Del. May 15, 2015); see also SCVNGR, Inc. v. eCharge

Licensing, LLC, No. 13-12418-DJC, 2014 WL 4804738, at *10 (D. Mass. Sept. 25,

2014) (citing additional cases and finding where only 3 of 8 patents were subject to

IPR, “this factor weighs quite strongly against a stay”); RR Donnelley & Sons Co. v.

Xerox Corp., No. 12-cv-6198, 2013 WL 6645472, at *3 (N.D. Ill. Dec. 16, 2013)

(“Granting a stay as to the entire litigation would cause the four unchallenged ...

patents to languish unresolved for an unspecified amount of time.”).




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      Here, as in Intellectual Ventures, the instituted and non-instituted asserted

claims implicate the same technology, the same accused products, the same principal

disputed claim terms, and the same secondary considerations of non-obviousness.

The same issues of infringement, validity, and damages will survive no matter the

outcome of the IPRs. Accordingly, if the Court lifts the stay, the parties would not

engage in unnecessary work or discovery, as that work and discovery will have to

be done regardless of the outcome of the two pending IPRs. In other words, the

“burden of litigation will not be reduced” by maintaining a stay. IV I, 2015 WL

3773779, at *3. There is therefore no reason for further delay of these actions.

      Also instructive is this Court’s decision in Mimedx Group, Inc. v. Liventa

BioScience, Inc. (Ex. F.) In that case, the plaintiff did not oppose a partial stay of

the litigation with respect to two patents where all asserted claims from those two

patents were instituted. Id. at 3. But the plaintiff did oppose a stay of the litigation

for a third related patent where the PTAB denied institution on any asserted claims.

Id. Even though an agreed-upon stay was in place for two asserted patents where all

claims were instituted, this Court denied the request to stay the litigation for a third

patent because it could find no simplification of issues that would result from staying

a case concerning a patent having claims that had not been instituted. Id. at 8. The

same logic applies here – two asserted patents survived institution entirely and,


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therefore, no logical rationale supports maintaining a stay with respect to those

patents. And no logical reason exists for maintaining the stay for the other two

patents either. Lifting the stay will not alter the scope of or complicate discovery

(the accused products are the same for the instituted and non-instituted claims),

claim construction, infringement theories, validity challenges (Cordelia is already

estopped from challenging validity on the instituted grounds), or damages theories.

Further, because this Court and the parties will have the benefit of the IPR decisions

prior to any trial, Cooper will have the opportunity to drop any claims found

unpatentable by the PTAB (and likely would as part of the normal process of

reducing asserted claims prior to trial).

      In view of the PTAB’s decisions, Cordelia’s arguments in favor of a stay no

longer hold any weight. (See Dkt. #68-1 at 7-9; Dkt. #77 at 4-9.) Cordelia

previously argued that judicial economy will be served because it will be estopped

from asserting its invalidity arguments should it lose before the PTAB, and having

to make those arguments during litigation would be wasteful. (Dkt. #68-1 at 8-9.)

Cordelia’s logic is nonsensical for a number of reasons. First, because the PTAB

instituted IPR for some claims, Cordelia is already estopped from making those

arguments in the litigation. Thus, it need not worry about wasting time and resources

on those arguments now. Second, even if there was any potential for wasting


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resources in this litigation on arguments for which estoppel would apply, that

concern is only theoretical. Cordelia appears to be making the same section 102/103

prior art arguments in this litigation with respect to claims that were not instituted as

the arguments being made in the IPRs for claims that were instituted. Thus, those

arguments will be developed by Cordelia either way. Accordingly, Cordelia’s

argument does not provide any legitimate basis to maintain the stay.

      For the above reasons, this factor weighs heavily against maintaining the stay.

             2.     Cooper Would Be Prejudiced And Cordelia Advantaged By
                    Maintaining The Stay.
      Regarding prejudice, courts “have looked to four sub-factors”: “(1) the timing

of the review request; (2) the timing of the request for stay; (3) the status of the

review proceedings; and (4) the relationship of the parties.” MiMedx, Ex. F at 12

(citing Boston Scientific Corp. v. Cordis Corp., 777 F. Supp. 2d 783, 789 (D. Del.

2011); Rensselaer Polytechnic Inst., v. Apple Inc., No. 1:13-cv-0633, 2014 U.S. Dist.

LEXIS 5186, at *11-12 (N.D.N.Y. Jan. 15, 2014)). The totality of these sub-factors

weigh against maintaining the stay.

      The first factor (i.e., timing of the review request) supports lifting the stay.

Cordelia served the IPR petitions on the day the statutory grace period expired.

Similar courts have found this delay to be inexcusable. See Universal Elecs., Inc. v.

Universal Remote Control, Inc., 943 F. Supp. 2d 1028, 1031 (C.D. Cal. 2013)

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(holding that delay of nearly a year weighed in favor of finding prejudice to

plaintiff). Cordelia’s attempt to explain their delay or blame Cooper has no merit.3

(See Dkt. #68-1 at 11-12.) Cordelia had been aware of the asserted claims for nine

months – and were required by local patent rules to serve their invalidity contentions

eight months – before they served their IPR petitions. The art that Cordelia relied

on in the petitions has been publicly available for years. While Cordelia was

certainly permitted to wait until the last day, it did not have to do so and could have

proceeded much earlier, as many other similarly situated defendants have done. The

Court is free to view the delay as prejudicial to Cooper. See, e.g., IV I, 2015 WL

3773779, at *2 (quoting Belden Techs., Inc. v. Superior Essex Comm’ns LP, No. 08-

63-SLR, 2010 WL 3522327, at *2 (D. Del. Sept. 2, 2010)).

      The second factor (i.e., timing of the request for a stay) also favors lifting the

stay, especially when taken in combination with how long it took Cordelia to file the

IPRs. This case has been pending for nearly 2 years. Cordelia waited nearly a month



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         As courts have recognized, “[t]he fact that Plaintiff did not seek a
preliminary injunction does not mean that it would not suffer prejudicial harm from
its competitor’s market activity during a lengthy delay in the case.” Universal, 943
F. Supp. 2d at 1034; see also MiMedx, Ex. F at 15 (citing Cooper Notifications, Inc.
v. Twitter, Inc., No. 09-856-LPS, 2010 U.S. Dist. LEXIS 131385, at *15 (D. Del.
Dec. 13, 2010)) (“There are a number of reasons that a plaintiff may choose to forego
this option that are unrelated to whether the parties are competitors.”).


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from the time it filed its IPRs to file its motion to stay, which was more than a year

after this case was filed. By that time, the parties had exchanged significant

discovery in this case (including tens of thousands of documents), deposed third

parties, completed briefing on claim construction, and briefed other issues (e.g.,

venue). Indeed, the parties only await a Markman hearing and order to complete

fact discovery. This Court has found that cases similarly positioned and postured

weighed against a stay. See MiMedx, Ex. F at 7-9 (“Although the Markman hearing

has not yet occurred, this case is not in its initial stages and a significant portion of

discovery has been served and briefs have been filed”); see also Tomco2, 542 F.

Supp. 2d at 1312. Accordingly, this factor does not support maintaining the stay.

      The third factor (i.e., status of the review proceedings) supports lifting the stay

as well. The IPRs were filed over 9 months ago. The IPR hearings are currently

scheduled for September and October, 2018 and final decisions are expected in both

by mid-February 2019. The IPRs will conclude long before this case goes to trial.

At that point, Cooper will be able to decide which of the claims to assert at trial and

very well may only assert those that survive the IPR challenges.

      Finally, the fourth factor (i.e., the relationship of the parties) supports lifting

the stay. The parties in this case are undisputedly direct competitors. As this Court

has acknowledged, “there is a reasonable chance that delay in adjudicating the


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alleged infringement will have outsized consequences to the party asserting

infringement has occurred, including the potential for loss of market share and an

erosion of goodwill.” MiMedx, Ex. F at 14 (citing Neste Oil Oyj v. Dynamic Fuels,

LLC, No. 12-662-GMS, 2013 U.S. Dist. LEXIS 13081, at *7 (D. Del. Jan. 31, 2013);

see also Universal, 943 F. Supp. 2d at 1034 (“Plaintiff may lose customers that it

would not have lost had the case proceeded”). Here, maintaining the stay (including

through any appeals, as Cordelia requests) would permit Cordelia to continue their

infringement indefinitely, delay an injunction to the detriment of Cooper, and

potentially enhance their market share to the further detriment of Cooper.

             3.     The Litigation Has Progressed Far Enough To Justify Lifting
                    The Stay And Proceeding On The Merits.
      This case has been pending for almost two years. As detailed in prior briefing,

the parties have exchanged significant discovery in this case (including tens of

thousands of documents), deposed third parties, and completed briefing on claim

construction over a year ago. Indeed, the parties only await a Markman hearing and

order to complete fact discovery. This Court has found that, regardless of whether

a hearing or trial date has been set in a case, that this factor weighed against a stay

in cases in similar stages of litigation. See MiMedx, Ex. F at 7-9 (“Although the

Markman hearing has not yet occurred, this case is not in its initial stages and a

significant portion of discovery has been served and briefs have been filed”); see

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also Tomco2, 542 F. Supp. 2d at 1312. Accordingly, all factors weigh in favor of the

Court lifting the stay.

      B.     The Recent SAS Decision Does Not Support Maintaining The
             Stay.

      SAS does not change the fact that the stay should still be lifted with respect to

all asserted patents (not just for the two patents where the PTAB denied Cordelia’s

IPR petitions). That the PTAB will further review claims in the Davis ‘956 patent

and Tickner ‘477 patent does not alter the fact that this case will have to proceed in

all aspects (and with the same scope) on the other two patents (and 23 asserted

claims). Indeed, other than the overall number of claims at issue (which will be

reduced as the case progresses anyway), lifting the stay with respect to all patents

adds nothing to discovery or any other aspect of this case.

V.    CONCLUSION

      Cordelia challenged all of the asserted claims in the four patents in this

litigation before the PTAB and did not prevail for nearly half of the asserted claims

in this case. Thus, regardless of the outcome of the two pending IPRs, this case can

and will proceed, and it should proceed with all of the asserted patents. While

Cooper was willing to stay the proceedings to evaluate the PTAB’s institution

decisions, there is no sense in delaying resolution on the merits any further. For the




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foregoing reasons, the Court should lift the stay and reopen the proceedings against

Cordelia in their entirety.



Dated: May 4, 2018

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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of Local Rule 5.1 of the Northern District

of Georgia, using a font type of Times New Roman and a point size of 14.

             Respectfully submitted,



                                          /s/ J. Jason Williams
                                          J. Jason Williams
                                          Attorney for Plaintiff
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on May 4, 2018, a true and correct copy of the foregoing

PLAINTIFF COOPER LIGHTING, LLC’S MOTION TO LIFT STAY OF

PROCEEDINGS was filed with the Clerk of Court using the CM/ECF system, which

will automatically send email notification of such filing to all counsel of record.



                                           /s/ J. Jason Williams
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